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Fil.ED BY Ji _/B.C.
lN THE UN|TED STATES DlSTR|CT COURT

FOR THE WESTERN DlSTRlCT OF TENNESSEE 5
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UN|TED STATES OF AN|ERlCA )

Plaintiff, §
VS § CR. NO. 05-20'127-|3
BHUTTER HARDEEP SlNGH §

Defendant. §

 

ORDER ON JURY VERD|CT

 

This cause came on fortrial on August 8, 2005, the United States Attorneyforthis District, Fred
Godwin, representing the Government, and the defendant, Bhutter Hardeep Singh, appearing in
person and with counsel, Randy A|den.

Jurors were selected and sworn. After listening to opening statements, all of the proof, closing
arguments and jury charge, the jurors were excused to begin deliberation

After due deliberation, the jury returned in open court on August 9, 2005, and announced a
verdict of GU|LTY as to Counts 1 & 2 of the indictment

Jurors Were polled individual|y.

The SENTENC|NG HEAR|NG is SET on Wednesday, November 3, 2005 at 1:30 p.m.
in Courtroom Nurnber 1, on the 1‘|m Floor, before Judge J. Daniel Breen.

Defendant was remanded to the custody of the U.S. Marshal.

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/J. o NiEL BREEN
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ENTERED this the q day ofAugust, 2005.

 

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UNITED sTATE DISIC COURT - WESERNT D'S'TRCT 0 TESSEE

   

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This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20127 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

